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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 MARK FAIRCHILD                                          §
   Plaintiff                                             §
                                                         §
 VS.                                                     §         C.A. 4:25-cv-1001
                                                         §
 U.S. BANK TRUST NATIONAL                                §
 ASSOCIATION, NOT IN ITS INDIVIDUAL                      §
 CAPACITY BUT SOLELY AS OWNER                            §
 TRUSTEE FOR VRMTG ASSET TRUST                           §
     Defendant                                           §

                       STIPULATION OF DISMISSAL WITH PREJUDICE

         Mark Fairchild (“Plaintiff”) hereby files this Stipulation of Dismissal With Prejudice

pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and would respectfully

show unto the Court as follows:

         1.       Plaintiff filed this lawsuit against Procedure Defendant, U.S. Bank Trust National

Association, not in individual capacity but solely as Owner Trustee for VRMTG Asset Trust

(“Trustee” or “Defendant”). Defendant removed the matter to this Court and the jurisdiction of

this Court was not contested. The parties have resolved their differences that formed the basis of

this action and all parties consent to this dismissal.

         2.       Plaintiff wishes to dismiss all claims against Defendant with prejudice.

         3.       In conformity with Rule 41(a)(1)(A)(ii), this Stipulation is signed by all parties who

have appeared in the action.

         4.       By this Stipulation, it is hereby stipulated that all claims and causes of action brought

by the Plaintiff against Defendant, are dismissed with prejudice to re-filing same or any part thereof.

         5.       Plaintiff and Defendant further stipulate that all costs of court are to be borne by

the party incurring the same.



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         WHEREFORE, PREMISES CONSIDERED, all claims and causes of action brought by

Plaintiff against Defendant are dismissed with prejudice by stipulation of all parties.

                                              Respectfully submitted,

                                              By: /s/ James Minerve
                                                 James Minerve
                                                 State Bar No. 24008692
                                                 13276 N Highway 183, Ste. 209
                                                 Austin, Texas 78750
                                                 (888) 819-1440 (Office)
                                                 (210) 336-5867 (Cell)
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                                              ATTORNEY-IN-CHARGE FOR PLAINTIFF

                                              By: /s/ Michael F. Hord Jr.
                                                 Michael F. Hord, Jr.
                                                 Texas Bar No. 00784294
                                                 Eric C. Mettenbrink
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                                             ATTORNEYS-IN-CHARGE FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

      On this 10th day of April, 2025, I hereby certify that a true and correct copy of the foregoing
document was forwarded as follows:

                                          James Minerve
                                  13276 N Highway 183, Ste. 209
                                       Austin, Texas 78750
                                     (888) 819-1440 (Office)
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                                   Email: jgm@minervelaw.com
                                             Via ECF
                                              /s/ Michael F. Hord Jr.
                                                Michael F. Hord Jr.

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